                    Case 8:14-bk-12576-RCT        Doc 60   Filed 11/17/17      Page 1 of 14




                                       UNITED STATES BANKRUPTCY COURT
                                         MIDDLE DISTRICT OF FLORIDA
                                                TAMPA DIVISION


     In re:                                        §
                                                   §
     MAKRIS, THERESA                               §       Case No. 14-12576 KRM
                                                   §
                         Debtor                    §

                     CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                     REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                     ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

             ANGELA WELCH , TRUSTEE, chapter 7 trustee, submits this Final Account,
     Certification that the Estate has been Fully Administered and Application to be Discharged.

             1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
     and, if applicable, any order of the Court modifying the Final Report. The case is fully
     administered and all assets and funds which have come under the trustee’s control in this case
     have been properly accounted for as provided by law. The trustee hereby requests to be
     discharged from further duties as a trustee.

            2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
     discharged without payment, and expenses of administration is provided below:


     Assets Abandoned: 303,592.00                          Assets Exempt: 6,000.00
     (Without deducting any secured claims)

     Total Distributions to Claimants: 5,026.45            Claims Discharged
                                                           Without Payment: 64,019.56

     Total Expenses of Administration: 7,235.72


             3) Total gross receipts of $ 12,262.17 (see Exhibit 1), minus funds paid to the debtor and
     third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 12,262.17 from the liquidation of
     the property of the estate, which was distributed as follows:




UST Form 101-7-TDR (10/1/2010) (Page: 1)
                         Case 8:14-bk-12576-RCT             Doc 60    Filed 11/17/17     Page 2 of 14




                                                  CLAIMS              CLAIMS              CLAIMS                 CLAIMS
                                                SCHEDULED            ASSERTED            ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                  $ 610,168.00          $ 2,119.12            $ 2,119.12                  $ 0.00

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                         NA             7,235.72              7,235.72                7,235.72

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                 NA                   NA                   NA                     NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                  NA                   NA                   NA                     NA

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                              65,089.00            7,809.01              7,809.01                5,026.45

TOTAL DISBURSEMENTS                               $ 675,257.00         $ 17,163.85           $ 17,163.85           $ 12,262.17


                  4) This case was originally filed under chapter 7 on 10/27/2014 . The case was pending
          for 36 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 10/16/2017                        By:/s/ANGELA WELCH , TRUSTEE
                                                                         Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




     UST Form 101-7-TDR (10/1/2010) (Page: 2)
                            Case 8:14-bk-12576-RCT             Doc 60       Filed 11/17/17        Page 3 of 14




                                                            EXHIBITS TO
                                                          FINAL ACCOUNT


              EXHIBIT 1 – GROSS RECEIPTS

                             DESCRIPTION                                   UNIFORM                                $ AMOUNT
                                                                          TRAN. CODE1                             RECEIVED

Checking Account No.***415 Wells Fargo-This
is deb                                                                       1129-000                                    128.03

Savings Account No.***541 Wells Fargo-This is
debt                                                                         1129-000                                    883.99

Checking Account No.***652 Wells Fargo-This
is deb                                                                       1129-000                                    203.04

Savings Account No.***785 Wells Fargo-This is
debt                                                                         1129-000                                     12.12

2005 Jeep Grand Cherokee This vehicle is
Debtor's                                                                     1129-000                                  4,534.99

    Other Litigation/Settlements                                             1249-000                                  6,500.00

TOTAL GROSS RECEIPTS                                                                                                 $ 12,262.17
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


              EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                     PAYEE                                     DESCRIPTION                          UNIFORM       $ AMOUNT
                                                                                                   TRAN. CODE        PAID

NA                                                                                                      NA                   NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                              $ 0.00
THIRD PARTIES




        UST Form 101-7-TDR (10/1/2010) (Page: 3)
                         Case 8:14-bk-12576-RCT               Doc 60         Filed 11/17/17      Page 4 of 14




             EXHIBIT 3 – SECURED CLAIMS

                                                UNIFORM         CLAIMS
                                                                                   CLAIMS             CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.       SCHEDULED                                                CLAIMS PAID
                                                                                  ASSERTED           ALLOWED
                                                 CODE       (from Form 6D)

             BB&T PO BOX 1847
             WILSON, NC 27894                                       7,700.00                  NA                NA              0.00


             BB&T PO BOX 2027
             GREENVILLE, SC 29602                                 301,234.00                  NA                NA              0.00


             COUNTRY OAK ESTATES
             HOA INC. C/O CITADEL
             PROPERTY MGMT GROUP
             INC. 40347 US 19 N, STE
             229 TARPON SPRINGS, FL
             34689                                                301,234.00                  NA                NA              0.00


             BB&T, BANKRUPTCY
000002       SECTION                            4800-000                 NA            2,119.12           2,119.12              0.00

TOTAL SECURED CLAIMS                                            $ 610,168.00          $ 2,119.12         $ 2,119.12           $ 0.00


             EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                             CLAIMS              CLAIMS             CLAIMS
              PAYEE                       TRAN.                                                                       CLAIMS PAID
                                                           SCHEDULED            ASSERTED           ALLOWED
                                          CODE

WELCH, ANGELA                             2100-000                     NA             1,561.22            1,561.22          1,561.22


WELCH, ANGELA                             2200-000                     NA              129.50              129.50            129.50


Union Bank                                2600-000                     NA              345.00              345.00            345.00




     UST Form 101-7-TDR (10/1/2010) (Page: 4)
                          Case 8:14-bk-12576-RCT               Doc 60       Filed 11/17/17        Page 5 of 14




                                          UNIFORM
                                                             CLAIMS             CLAIMS               CLAIMS
               PAYEE                       TRAN.                                                                        CLAIMS PAID
                                                           SCHEDULED           ASSERTED             ALLOWED
                                           CODE

CLERK OF BANKRUPTCY
COURT                                      2700-000                    NA              1,050.00           1,050.00            1,050.00


Atty Lash Fees Order 46                    3210-002                    NA              1,950.00           1,950.00            1,950.00


Atty lash Fees Order ODc 36                3210-002                    NA              2,200.00           2,200.00            2,200.00

TOTAL CHAPTER 7 ADMIN. FEES                                         $ NA             $ 7,235.72          $ 7,235.72         $ 7,235.72
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                             CLAIMS             CLAIMS               CLAIMS
               PAYEE                       TRAN.                                                                        CLAIMS PAID
                                                           SCHEDULED           ASSERTED             ALLOWED
                                           CODE

NA                                               NA                    NA                   NA                   NA               NA

TOTAL PRIOR CHAPTER ADMIN.                                          $ NA                  $ NA                $ NA               $ NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                               CLAIMS              CLAIMS
                                                 UNIFORM
                                                             SCHEDULED            ASSERTED             CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                                 CLAIMS PAID
                                                              (from Form        (from Proofs of       ALLOWED
                                                  CODE
                                                                  6E)               Claim)

NA           NA                                       NA                 NA                   NA                  NA              NA

TOTAL PRIORITY UNSECURED                                                $ NA                $ NA                 $ NA            $ NA
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS




      UST Form 101-7-TDR (10/1/2010) (Page: 5)
                         Case 8:14-bk-12576-RCT             Doc 60      Filed 11/17/17        Page 6 of 14




                                                            CLAIMS             CLAIMS
                                                UNIFORM
                                                          SCHEDULED           ASSERTED             CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                            CLAIMS PAID
                                                           (from Form       (from Proofs of       ALLOWED
                                                 CODE
                                                               6F)              Claim)

            BB&T PO BOX 2027
            GREENVILLE, SC 29602                                     0.00                 NA                 NA            0.00


            CAP1/BSTBY 26525 N
            RIVERWOODS BLVD
            METTAWA, IL 60045                                        0.00                 NA                 NA            0.00


            CAP1/BSTBY PO BOX 5253
            CAROL STREAM, IL 60197                                   0.00                 NA                 NA            0.00


            CAVALRY PORTFOLIO
            SERV PO BOX 27288
            TEMPE, AZ 85285                                     2,242.00                  NA                 NA            0.00


            CHASE PO BOX 15298
            WILMINGTON, DE 19850                               14,953.00                  NA                 NA            0.00


            CHASE PO BOX 15298
            WILMINGTON, DE 19850                                7,924.00                  NA                 NA            0.00


            CHASE PO BOX 15298
            WILMINGTON, DE 19850                                     0.00                 NA                 NA            0.00


            CHASE/CC PO BOX 15298
            WILMINGTON, DE 19850                                     0.00                 NA                 NA            0.00


            CITGO/CBNA PO BOX 6497
            SIOUX FALLS, SD 57117                                    0.00                 NA                 NA            0.00


            CITI PO BOX 6497 SIOUX
            FALLS, SD 57117                                          0.00                 NA                 NA            0.00




     UST Form 101-7-TDR (10/1/2010) (Page: 6)
                         Case 8:14-bk-12576-RCT             Doc 60      Filed 11/17/17        Page 7 of 14




                                                            CLAIMS             CLAIMS
                                                UNIFORM
                                                          SCHEDULED           ASSERTED             CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                            CLAIMS PAID
                                                           (from Form       (from Proofs of       ALLOWED
                                                 CODE
                                                               6F)              Claim)

            CITIFINANCIAL 300 SAINT
            PAUL PL BALTIMORE, MD
            21202                                                    0.00                 NA                 NA            0.00


            CITIFINANCIAL 300 SAINT
            PAUL PL BALTIMORE, MD
            21202                                                    0.00                 NA                 NA            0.00


            COMENITY
            BANK/ANNTYLR PO BOX
            182273 COLUMBUS, OH
            43218                                                    0.00                 NA                 NA            0.00


            COMENITY
            BANK/FASHBUG PO BOX
            182272 COLUMBUS, OH
            43218                                                    0.00                 NA                 NA            0.00


            COMENITY
            BANK/LNBRYANT PO
            BOX 182789 COLUMBUS,
            OH 43218                                                 0.00                 NA                 NA            0.00


            COMENITY CAPITAL/HSN
            995 W 122ND AVE
            WESTMINSTER, CO 80234                                  46.00                  NA                 NA            0.00


            FASHION BUG/SOANB
            1103 ALLEN DR MILFORD,
            OH 45150                                                 0.00                 NA                 NA            0.00




     UST Form 101-7-TDR (10/1/2010) (Page: 7)
                         Case 8:14-bk-12576-RCT             Doc 60      Filed 11/17/17        Page 8 of 14




                                                            CLAIMS             CLAIMS
                                                UNIFORM
                                                          SCHEDULED           ASSERTED             CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                            CLAIMS PAID
                                                           (from Form       (from Proofs of       ALLOWED
                                                 CODE
                                                               6F)              Claim)

            FNB OMAHA PO BOX 3412
            OMAHA, NE 68103                                          0.00                 NA                 NA            0.00


            MCYDSNB 9111 DUKE
            BLVD MASON, OH 45040                                2,811.00                  NA                 NA            0.00


            MIDLAND FUNDING 8875
            AERO DR STE 200 SAN
            DIEGO, CA 92123                                    12,856.00                  NA                 NA            0.00


            PAULH/CBNA PO BOX
            6497 SIOUX FALLS, SD
            57117                                                    0.00                 NA                 NA            0.00


            SEARS/CBNA PO BOX 6189
            SIOUX FALLS, SD 57117                                    0.00                 NA                 NA            0.00


            SEARS/CBNA PO BOX 6283
            SIOUX FALLS, SD 57117                               9,592.00                  NA                 NA            0.00


            SYNCB/DILLARDS PO
            BOX 965024 ORLANDO, FL
            32896                                                    0.00                 NA                 NA            0.00


            SYNCB/GAPDC PO BOX
            965005 ORLANDO, FL
            32896                                                    0.00                 NA                 NA            0.00


            SYNCB/LOWES PO BOX
            965005 ORLANDO, FL
            32896                                                    0.00                 NA                 NA            0.00




     UST Form 101-7-TDR (10/1/2010) (Page: 8)
                         Case 8:14-bk-12576-RCT              Doc 60      Filed 11/17/17        Page 9 of 14




                                                             CLAIMS             CLAIMS
                                                UNIFORM
                                                           SCHEDULED           ASSERTED             CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                             CLAIMS PAID
                                                            (from Form       (from Proofs of       ALLOWED
                                                 CODE
                                                                6F)              Claim)

            SYNCB/OLD NAVY PO
            BOX 965005 ORLANDO, FL
            32896                                                     0.00                 NA                 NA            0.00


            SYNCB/ROOMS TO GO PO
            BOX 965036 ORLANDO, FL
            32896                                                     0.00                 NA                 NA            0.00


            SYNCB/SAMS CLUB PO
            BOX 965005 ORLANDO, FL
            32896                                                     0.00                 NA                 NA            0.00


            SYNCB/WALMART PO
            BOX 965024 ORLANDO, FL
            32896                                                     0.00                 NA                 NA            0.00


            TARGET NB PO BOX 673
            MINNEAPOLIS, MN 55440                                     0.00                 NA                 NA            0.00


            WELLS FARGO BANK PO
            BOX 14517 DES MOINES,
            IA 50306                                            10,813.00                  NA                 NA            0.00


000005      CAPITAL ONE, N.A.                   7100-000         1,381.00             1,381.86          1,381.86          889.47


            CAPITAL RECOVERY V,
000004      LLC                                 7100-000         2,471.00             2,471.43          2,471.43        1,590.79


            COUNTRY OAK ESTATES
000003      HOMEOWNERS ASSO                     7100-000              NA              3,909.49          3,909.49        2,516.43




     UST Form 101-7-TDR (10/1/2010) (Page: 9)
                        Case 8:14-bk-12576-RCT               Doc 60       Filed 11/17/17        Page 10 of 14




                                                              CLAIMS             CLAIMS
                                                 UNIFORM
                                                            SCHEDULED           ASSERTED             CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                              CLAIMS PAID
                                                             (from Form       (from Proofs of       ALLOWED
                                                  CODE
                                                                 6F)              Claim)

            QUANTUM3 GROUP LLC
000001      AS AGENT FOR                         7100-000               NA                46.23             46.23            29.76

TOTAL GENERAL UNSECURED                                         $ 65,089.00          $ 7,809.01         $ 7,809.01       $ 5,026.45
CLAIMS




     UST Form 101-7-TDR (10/1/2010) (Page: 10)
                               Case 8:14-bk-12576-RCT                     Doc 60             Filed 11/17/17                Page 11 of 14
                                                                      FORM 1
                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                        Page:      1
                                                                    ASSET CASES                                                                                        Exhibit 8
Case No:             14-12576         KRM     Judge: K. RODNEY MAY                                      Trustee Name: ANGELA WELCH , TRUSTEE
Case Name:           MAKRIS, THERESA                                                                    Date Filed (f) or Converted (c):      10/27/14 (f)
                                                                                                        341(a) Meeting Date:                  12/02/14
 For Period Ending: 09/30/17
                                                                                                        Claims Bar Date:                      04/30/15


                                  1                                      2                         3                  4               5                            6
                                                                                          Estimated Net Value
                                                                                           (Value Determined       Property                                   Asset Fully
                                                                      Petition/             by Trustee, Less       Formally       Sale/Funds              Administered (FA)/
                          Asset Description                          Unscheduled           Liens, Exemptions,     Abandoned       Received by          Gross Value of Remaining
               (Scheduled and Unscheduled (u) Property)                Values               and Other Costs)      OA=554(a)        the Estate                   Assets

 1. Homestead 745 Tomoka Drive Palm Harbor, FL 34683                     301,234.00                 31,297.00        OA                        0.00               FA
 2. Checking Account No.***692 Wells Fargo                                   942.99                      0.00                                  0.00               FA
 3. Checking Account No.***415 Wells Fargo-This is deb                       256.07                    256.07                                128.03               FA
 4. Savings Account No.***541 Wells Fargo-This is debt                     1,780.07                  1,780.07                                883.99               FA
 5. Checking Account No.***652 Wells Fargo-This is deb                       406.09                    406.09                                203.04               FA
 6. Savings Account No.***785 Wells Fargo-This is debt                        12.12                     12.12                                 12.12               FA
 7. Misc. household goods                                                    750.00                      0.00                                  0.00               FA
 8. Clothing & personal effects                                              100.00                      0.00                                  0.00               FA
 9. Jewelery                                                                 100.00                      0.00                                  0.00               FA
 10. 2008 Nissan Altima                                                    6,000.00                      0.00        OA                        0.00               FA
 11. 2005 Jeep Grand Cherokee This vehicle is Debtor's                     5,000.00                  4,534.99                              4,534.99               FA
 12. 1996 Lexus ES Windshield is shatterd and hood is c                        0.00                      0.00        OA                        0.00               FA
 13. CONTINGENT CLAIMS FDC CHASE / NCO / EGS (u)                               0.00                  1,000.00                                  0.00               FA
    FDC-LASH-CHASE / NCO / EGS
 14. CONTINGENT CLAIMS FDC WF VISA (u)                                             0.00                1,000.00                                0.00               FA
    FDC-LASH-WF VISA
 15. CONTINGENT CLAIMS FDC MACYS / Citi (u)                                        0.00                1,000.00                            3,400.00               FA
    FDC-LASH-MACYS / Citi
 16. CONTINGENT CLAIMS FDC KOHLS (u)                                               0.00                1,000.00                                0.00               FA
    FDC-LASH-KOHLS
 17. CONTINGENT CLAIMS FDC ARS / Chase                                             0.00                1,700.00                                0.00               FA
    FDC Lash ARS CHASE
 18. CONTINGENT CLAIMS FDC Midland (u)                                             0.00                1,500.00                            3,100.00               FA
    FDC Lash Midland

                                                                                                                                                      Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                      $316,581.34               $45,486.34                         $12,262.17                            $0.00
                                                                                                                                                        (Total Dollar Amount
                                                                                                                                                               in Column 6)

 _________________________________________________________________________________________________________________________
 Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

 -341 & concluded. Issues: FDC Lash, over, sent ltr
 February 26, 2015, 10:16 am -letter to debtor and attorney for overage of $6989.34. car and bank
 accounts not exempted on schedules.
 -3/2/15 atty Lash Confirm FDC: Chase, WF, Macys Kohls
 -3/4/15 tt d atty Nick, discussed bnk acct 1/2 to d and son, d owes 1/2 bal and veh titled to d only
 so all there. he to tt d and have her get lump pymt asap.
 -4/15 rec'd bb, just FDC yet.
 April 06, 2015, 02:38 pm Filed RNS
 June 01, 2015, 03:56 pm -App/Dec and Order to Employ Lash-Order ID: 6395
 -6/15 initial poc rev
 July 22, 2015, 01:00 pm -Case Review...FDC only
 September 03, 2015, 11:47 am NOT OF ABADONMENT



PFORM1                                                                                                                                                                  Ver: 20.00e
         UST Form 101-7-TDR (10/1/2010) (Page: 11)
                            Case 8:14-bk-12576-RCT                 Doc 60        Filed 11/17/17             Page 12 of 14
                                                                FORM 1
                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                  Page:   2
                                                              ASSET CASES                                                                  Exhibit 8
Case No:            14-12576     KRM     Judge: K. RODNEY MAY                            Trustee Name: ANGELA WELCH , TRUSTEE
Case Name:          MAKRIS, THERESA                                                      Date Filed (f) or Converted (c):   10/27/14 (f)
                                                                                         341(a) Meeting Date:               12/02/14
                                                                                         Claims Bar Date:                   04/30/15
 -11/12/15 rev case, FDC yet
 -12/15 emailed atty Lash for status
 -2/18/16 update per atty Lash: Chase, WF, Citi / Macy's, Kohls. All 4 are active.
 -2/24/16 rev FDC sett Macy's / Citi: 3400: 1200e 2200a
 -3/16 rev FDC sett Citi
 -5/16 rec'd FDC sett Citi, other FDC pending
 -6/26/16 rev FDC Correspondence RE Midland
 -7/16 per atty Lash last FDC not viable, just Midland then close
 -7/16 rev poc, need obj
 October 12, 2016, 02:16 pm -Order on objection to Claim done August 26, 2016 Order ID: 119775
 October 24, 2016, 08:57 am -Resubmitted order from Priority claim to unsecured Claim-Order ID:
 122082
 -10/16 rev FDC sett Midland: 3100: 1150e 1950a
 November 02, 2016, 11:17 am -Proof of service on Objection to Claim 3 of Country Oaks Estates
 December 07, 2016, 12:58 pm -Report of Sale
 -1/18/17 rev case, just need Midland sett $
 -2/17 ALL $ IN
 -3/17 working on closing
 -4/26/17 did TFR, sent to UST
 July 10, 2017, 11:53 am -Order on ECOD-Order ID: 169364
 July 12, 2017, 01:01 pm -Proof of service on ECOD
 -9/13/17 lm for Karen Cox at Bush Ross RE POC 3 - ck hasn't cleared.

 Initial Projected Date of Final Report (TFR): 12/31/15         Current Projected Date of Final Report (TFR): 06/30/17




PFORM1                                                                                                                                      Ver: 20.00e
         UST Form 101-7-TDR (10/1/2010) (Page: 12)
                                      Case 8:14-bk-12576-RCT                   Doc 60                Filed 11/17/17                Page 13 of 14
                                                                            FORM 2                                                                                             Page:       1
                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

    Case No:               14-12576 -KRM
                                                                                                                                                                                Exhibit 9
                                                                                                      Trustee Name:                   ANGELA WELCH , TRUSTEE
    Case Name:             MAKRIS, THERESA                                                            Bank Name:                      Union Bank
                                                                                                      Account Number / CD #:          *******6895 Checking Account
    Taxpayer ID No:        *******4124
    For Period Ending:     09/30/17                                                                   Blanket Bond (per case limit): $ 41,764,000.00
                                                                                                      Separate Bond (if applicable):



        1             2                                3                                         4                                          5                   6                      7

 Transaction      Check or                                                                                                Uniform                          Disbursements       Account / CD
    Date          Reference                Paid To / Received From              Description Of Transaction              Trans. Code    Deposits ($)             ($)             Balance ($)
                                                                      BALANCE FORWARD                                                                                                          0.00
       04/01/15 * NOTE * Makris                                       pymt pp and veh Jeep over RNS24                   1129-000                5,762.17                               5,762.17
                                                                      * NOTE * Properties 3, 4, 5, 6, 11
       05/26/15               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            5,747.17
       06/25/15               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            5,732.17
       07/27/15               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            5,717.17
       08/25/15               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            5,702.17
       09/25/15               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            5,687.17
       10/26/15               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            5,672.17
       11/25/15               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            5,657.17
       12/28/15               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            5,642.17
       01/25/16               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            5,627.17
       02/25/16               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            5,612.17
       03/25/16               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            5,597.17
       04/25/16               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            5,582.17
       05/15/16       15      Lash & Wilcox                           FDC Sett Order DOc 37                                                     1,200.00                               6,782.17
                              LASH & WILCOX                              Memo Amount:                3,400.00           1249-000
                                                                      FDC Sett Order DOc 37
                                                                         Memo Amount:        (       2,200.00 )         3210-002
                                                                      Atty lash Fees Order ODc 36
       05/25/16               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            6,767.17
       06/27/16               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            6,752.17
       07/25/16               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            6,737.17
       08/25/16               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            6,722.17
       09/26/16               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            6,707.17
       10/25/16               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            6,692.17
       11/25/16               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            6,677.17
       12/27/16               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            6,662.17
       01/25/17               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            6,647.17
       02/07/17       18      Lash & Wilcox                           FDC Sett Midland Order 45                                                 1,150.00                               7,797.17
                              LASH & WILCOX                              Memo Amount:                3,100.00           1249-000
                                                                      FDC Sett Midland Order 45
                                                                         Memo Amount:        (       1,950.00 )         3210-002
                                                                      Atty Lash Fees Order 46
       02/27/17               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            7,782.17
       03/27/17               Union Bank                              BANK SERVICE FEE                                  2600-000                                      15.00            7,767.17
*      04/25/17               Union Bank                              BANK SERVICE FEE                                  2600-003                                      15.00            7,752.17
*      05/15/17               Reverses Adjustment OUT on 04/25/17     reverse bank error                                2600-003                                      -15.00           7,767.17
       07/12/17   003001      ANGELA WELCH , Ch. 7 Trustee            Chapter 7 Compensation/Fees                       2100-000                                    1,561.22           6,205.95
       07/12/17   003002      ANGELA WELCH , Ch. 7 Trustee            Chapter 7 Expenses                                2200-000                                     129.50            6,076.45
       07/12/17   003003      Clerk, United States Bankruptcy Court   CLERK, ADVERSARY FILING FEE                       2700-000                                    1,050.00           5,026.45
                              United States Bankruptcy Court
                              801 N. Florida Ave., Ste. 555
                              Tampa, FL 33602-3899
       07/12/17   003004      Quantum3 Group LLC as agent for         Claim 000001, Payment 64.37378%                   7100-000                                      29.76            4,996.69
                              Comenity Capital Bank
                              PO Box 788
                              Kirkland, WA 98083-0788



PFORM2T4                                                                                                                                                                           Ver: 20.00e
            UST Form 101-7-TDR (10/1/2010) (Page: 13)
                                   Case 8:14-bk-12576-RCT                       Doc 60             Filed 11/17/17                   Page 14 of 14
                                                                          FORM 2                                                                                               Page:       2
                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              14-12576 -KRM
                                                                                                                                                                                Exhibit 9
                                                                                                      Trustee Name:                   ANGELA WELCH , TRUSTEE
  Case Name:            MAKRIS, THERESA                                                               Bank Name:                      Union Bank
                                                                                                      Account Number / CD #:          *******6895 Checking Account
  Taxpayer ID No:       *******4124
  For Period Ending:    09/30/17                                                                      Blanket Bond (per case limit): $ 41,764,000.00
                                                                                                      Separate Bond (if applicable):



      1             2                                 3                                       4                                             5                   6                      7

 Transaction    Check or                                                                                                  Uniform                          Disbursements       Account / CD
    Date        Reference                 Paid To / Received From                Description Of Transaction             Trans. Code    Deposits ($)             ($)             Balance ($)
     07/12/17   003005      Country Oak Estates Homeowners              Claim 000003, Payment 64.36722%                  7100-000                                   2,516.43           2,480.26
                            Association, Inc.
                            c/o Karen S. Cox, Esq.
                            Bush Ross, P.A.
                            1801 N. Highland Avenue
                            Tampa, Florida 33602
     07/12/17   003006      Capital Recovery V, LLC                     Claim 000004, Payment 64.36719%                  7100-000                                   1,590.79               889.47
                            c/o Recovery Management Systems Corporat
                            25 SE 2nd Avenue Suite 1120
                            Miami FL 33131-1605
     07/12/17   003007      CAPITAL ONE, N.A.                           Claim 000005, Payment 64.36759%                  7100-000                                    889.47                    0.00
                            C/O BECKET AND LEE LLP
                            POB 3001
                            MALVERN, PA 19355-0701




                                                          Account                 Balance Forward                         0.00
                                                                                3 Deposits                            8,112.17                   7 Checks                              7,767.17
                                                          *******6895
                                                                                0 Interest Postings                       0.00                  25 Adjustments Out                       345.00
       Memo Receipts:                  6,500.00                                                                                                  0 Transfers Out                           0.00
   Memo Disbursements:                 4,150.00                                    Subtotal                    $      8,112.17
                                                                                                                                                   Total                       $       8,112.17
   Memo Allocation Net:                2,350.00                                 0 Adjustments In                         0.00
                                                                                0 Transfers In                           0.00

                                                                                   Total                       $      8,112.17




PFORM2T4                                                                                                                                                                           Ver: 20.00e
          UST Form 101-7-TDR (10/1/2010) (Page: 14)
